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 1 Lincoln D. Bandlow, Esq. (CA #170449)
     lbandlow@foxrothschild.com
 2 Fox Rothschild LLP
     Constellation Place
 3 10250 Constellation Blvd., Suite 900
     Los Angeles, CA 90067
 4 Tel.: (310) 598-4150
     Fax: (310) 556-9828
 5
     Attorney for Plaintiff
 6 Strike 3 Holdings, LLC

 7

 8                         UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10                                   SAN DIEGO DIVISION
11 STRIKE 3 HOLDINGS, LLC,                           Case Number: '18CV0987 AJB JMA
12                      Plaintiff,                   NOTICE OF PARTY WITH
                                                     FINANCIAL INTEREST
13 vs.

14 JOHN DOE subscriber assigned IP
     address 76.238.230.242,
15
                        Defendant.
16

17         PLEASE TAKE NOTICE, pursuant to CIVLR 40.2 and Fed. R. Civ. P. 7.1,
18 Plaintiff’s parent corporation is General Media Systems, LLC. There are no

19 publicly traded corporations that currently own 10% or more of Plaintiff’s stock.

20 Dated: May 17, 2018                        Respectfully submitted,
21

22                                            By:__________________
                                              Lincoln D. Bandlow, Esq.
23                                            FOX ROTHSCHILD LLP
24
                                              Attorney for Plaintiff
25
                                              Strike 3 Holdings, LLC
26

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                                                 1

                               Notice of Party With Financial Interest
